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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

MARVIN GUERRERO MADRID                                     CIVIL ACTION

VERSUS                                                     NO. 18-1856

DAVID REID ET AL                                           SECTION “S” (3)


                    SCHEDULING CONFERENCE NOTICE

      A SCHEDULING CONFERENCE will be held BY TELEPHONE on
OCTOBER 22, 2018 at 2:00 p.m. for the purpose of setting a pre-trial conference
and trial on the merits.
      The Court will initiate the telephone conference call and will be represented at
the conference by its Case Manager. The Court will call ONLY those attorneys
designated on the docket sheet as “Lead Attorney”. If an attorney other than Lead
Counsel is to participate, counsel are to contact the case manager prior to
the conference in order to provide the appropriate contact information.



                                        MARY ANN VIAL LEMMON
                                        UNITED STATES DISTRICT JUDGE

                                        Issued for the Court:

                                        By: Erin Mouledous
                                            Case Manager
                                            (504) 589-7695




                          NOTICE
COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF THIS
NOTICE SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS REQUIRED BY
THIS NOTICE.
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               IMPORTANT NOTICE TO COUNSEL

COUNSEL WILL BE REQUIRED TO ANSWER THE
FOLLOWING QUESTIONS REGARDING DISCLOSURE AT THE
CONFERENCE:

1.   Have all parties completed your Rule 26(a)(1) mandatory
     initial disclosures?

2.   Have all parties stipulated that initial disclosures under Rule
     26(a)(1) will not be made in this case?

3.   Do any of the parties object to making Rule 26(a)(1) initial
     disclosures in this case? *

*WRITTEN OBJECTIONS MUST BE FILED THREE WORKING
DAYS PRIOR TO THE PRELIMINARY CONFERENCE.
